         Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 1 of 15




                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


BERNARD GRIGGS                       :
                                     :
    Plaintiff,                       :
                                     :        CIVIL ACTION FILE NO.
    v.                               :           1:21-CV-3942 AT
                                              ___________________________
                                     :
HIKARI BOTANICAL &                   :
HERB, LLC, ALICIA LOUIS, and         :
TAYON LOUIS                          :
                                     :
    Defendants.                      :
______________________________       :

                               COMPLAINT


     Plaintiff Bernard Griggs files his Complaint against Defendants Hikari

Botanical & Herb LLC (d/b/a Hikari Botanical Cafe), Alicia Louis, and Tayon

Louis.


                        NATURE OF THE ACTION


                                         1.


     This is an action for failure to pay minimum wage and overtime under

the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”), breach of

contract under Georgia law, and attorney’s fees under O.C.G.A. § 13-6-11.
           Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 2 of 15




                                   PARTIES


                                        2.

      Plaintiff Bernard Griggs is a citizen and resident of Cobb County,

Georgia.


                                        3.

      Defendant Hikari Botanical Café is a corporation organized under the

laws of Georgia, with its principal office address at: 130 Belaire Cir.,

Fairburn, Georgia, 30213. It operates a restaurant at: 216 NW Broad Street.

Suite B, Fairburn, Georgia, 30213, which is in Fulton County. It can be

served with summons and complaint upon its Registered Agent, Alicia

Michele Louis, at 130 Belaire Cir., Fairburn, GA, 30213.


                                        4.


      Defendant Alice Louis is a resident of Fulton County in the state of

Georgia and can be serve with summons and complaint at either: 130 Belaire

Cir., Fairburn, Georgia, 30213 or 216 NW Broad Street. Suite B, Fairburn,

Georgia, 30213.




                                        2
        Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 3 of 15




                                        5.


      Defendant Tayon Louis is a resident of Fulton County in the state of

Georgia and can be serve with summons and complaint at either: 130 Belaire

Cir., Fairburn, Georgia, 30213 or 216 NW Broad Street. Suite B, Fairburn,

Georgia, 30213.


                       JURISDICTION AND VENUE


                                        6.


      The claims brought in this lawsuit present federal questions and

jurisdiction in this Court is proper under 28 U.S.C. §§’s 1331 and 1337, and

29 U.S.C. § 216.


                                        7.


      Venue of this suit is proper in the Northern District of Georgia, Atlanta

Division under 28 U.S.C. § 1391 and 29 U.S.C. § 216. All Defendants reside

and operate their business in this judicial district and division. In addition,

the alleged unlawful acts against Plaintiff occurred in this judicial district

and division.




                                        3
          Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 4 of 15




                          FACTUAL ALLEGATIONS


                                        8.


        Defendants hired Plaintiff on July 5, 2021 as a kitchen manager.


                                        9.


        Defendant Alicia Louis agreed to pay Plaintiff a flat rate of $900 per

week.


                                        10.


        Defendant Alicia Louis told Plaintiff that her accountant would pay

him by check every other Tuesday.


                                        11.


        On his first day of work on Monday, July 5, 2021, Defendant Alicia

Louis directed Plaintiff to fill out an I-9 and told him she would have him fill

out his W-2 later.


                                        12.


        After Plaintiff was fired, Defendant Alicia Louis told him he was a 1099

independent contractor and that he could not collect unemployment.




                                         4
           Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 5 of 15




                                       13.


         Defendants had complete control over the hours that Plaintiff would

work. They would tell him when to report for his shifts and when he could

leave.


                                       14.

         Defendants also provided him with his work assignments and

controlled and supervised his work.


                                       15.


         From Monday to Wednesday, Plaintiff would work from 7:00 to 7:15

a.m. until 8:00 to 8:30 p.m.


                                       16.


         From Thursday to Saturday, Plaintiff worked from 7:00 to 7:15 a.m.

until 9:30 or 10:00 p.m.


                                       17.


         Plaintiff almost always worked through lunch and dinner because the

restaurant was so busy he was unable to take a break.


.



                                        5
          Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 6 of 15




                                         18.


        On July 9, 2021, Plaintiff stepped on a bolt that was on the floor of the

workplace. It pierced through his shoe and into his foot.


                                         19.


        Even so, Defendant Alicia Louis did not want Plaintiff to leave work.


                                         20.


        Plaintiff finished his shift for that day despite his injury.


                                         21.

        Defendant Alicia Louis told him that if he did not report for work the

next day, she would have to let him go.


                                         22.


        Despite his injury, Plaintiff worked that next day, Saturday, July 10,

2021.


                                         23.


        On Monday, July 12, 2021, Plaintiff’s wife had a medical procedure

performed on her at a hospital.




                                          6
        Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 7 of 15




                                      24.


      Because she was sedated for the procedure, she was unable to drive.

The hospital refused to release her unless a family member was there to

drive her home.


                                      25.

      Plaintiff informed Defendant Alicia Louis that he was the only person

who could pick up his wife.


                                      26.


      Defendant Alicia Louis told Plaintiff that he could not leave work and

asked him if he could not “just call her an Uber or a Lyft?”


                                      27.


      Plaintiff informed her that the hospital would not release his wife to an

Uber of Lyft driver and that he was the only family member who lived nearby

enough to pick her up from the hospital.


                                      28.

      Plaintiff left work and picked his wife up from the hospital to drive her

home.



                                       7
          Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 8 of 15




                                      29.


      Defendant Alicia Louis became angry that Plaintiff had to leave work

to pick up his wife.


                                      30.


      On July 12, 2021, she sent Plaintiff a text that read in part: “I’m doing

way too much work to pay you what we agreed… FYI I don’t do games and

lies…”


                                      31.


      During the time that Plaintiff was working, Defendant Alicia Louis

bragged that they did not have to pay unemployment taxes or “any of that

stuff.”


                                      32.


      On July 27, 2021, Plaintiff went to collect his check for the hours he had

worked.


                                      33.


      Defendants refused to pay him at all.




                                       8
          Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 9 of 15




                                          34.


        Defendants Alicia Louis and Tayon Louis also threatened to have him

arrested for criminal trespass.


                                          35.


        When Plaintiff argued with Defendant that he was due the money she

agreed to pay him, Defendant Alicia Louis replied that: “We don’t have your

money, you will have to sue to get it.”




                          COUNT ONE
         FAILURE TO PAY MINIMUM WAGE UNDER THE FLSA
                                          36.

        Plaintiff was an employee within the meaning of the FLSA because

Defendant engaged him to work as an employee at a flat rate of $900 per

week.

                                          37.

        Defendant Hikari Botanical Cafe is an employer within the meaning of

the FLSA because it engages in interstate commerce.




                                          9
        Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 10 of 15




                                       38.

      Defendant Alicia Louis is an employer within the meaning of the FLSA

because she is an owner and exercises control and authority over significant

aspects of the company’s day-to-day functions, including compensation of

employees. She helped decide the rate of pay and whether to pay Plaintiff

overtime. She had the authority to hire and fire Plaintiff.

                                       39.

      Defendant Tayon Louis is an employer within the meaning of the

FLSA. because he is an owner and exercises control and authority over

significant aspects of the company’s day-to-day functions, including

compensation of employees. He also barred Plaintiff from the premises with a

trespass warning.

                                       40.

      By failing to pay Plaintiff at all, Defendants failed to pay Plaintiff the

minimum wage required by the FLSA.

                                       41.

      Defendants knew or should have known that such actions violate the

FLSA, and they have not made a good faith effort to comply with the FLSA.




                                       10
        Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 11 of 15




                                       42.


      Defendants knew or should have known that Plaintiff was not exempt

from the minimum wage requirements of the FLSA, and they have not made

a good faith effort to comply with the FLSA.

                                      43.

      Defendants knowingly, willfully, and/or with reckless disregard, failed

to pay Plaintiff minimum wage.

                                      44.

      As a result of Defendants’ unlawful acts, Plaintiff is entitled to recover

the relief requested below.



                         COUNT TWO
           FAILURE TO PAY OVERTIME UNDER THE FLSA

                                       45.


      Plaintiff worked over forty hours per week during his first week of

employment.

                                      46.

      Defendants violated the FLSA by failing to pay Plaintiff overtime for

all hours worked above forty hours in a week.




                                       11
        Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 12 of 15




                                        47.

      Defendants knew or should have known that such actions violate the

FLSA, and they have not made a good faith effort to comply with the FLSA.

                                        48.

      Defendants knew or should have known that Plaintiff was not exempt

from the overtime requirements of the FLSA, and they have not made a good

faith effort to comply with the FLSA.

                                        49.

      Defendants knowingly, willfully, and/or with reckless disregard, failed

to pay Plaintiff his overtime wages for his first week of employment.

                                        50.

      As a result of Defendants’ unlawful acts, Plaintiff is entitled to recover

the relief requested below.



                            COUNT THREE
                         BREACH OF CONTRACT

                                        51.


      Defendants entered into a verbal contract with Plaintiff to pay him

nine hundred dollars a week as a flat rate.




                                        12
        Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 13 of 15




                                       52.

      Defendants failed to pay Plaintiff nine hundred dollars for the two

weeks that he worked.


                                      53.

      As a result of Defendants’ unlawful acts, Plaintiff is entitled to recover

the relief requested below.



                         COUNT FOUR
             ATTORNEY’S FEES UNDER O.C.G.A. § 13-6-11

                                       54.


      Plaintiff incorporates by reference the allegations set forth in the

preceding paragraphs of his Complaint as if fully set forth in this Paragraph.

                                      55.

      Plaintiff made a demand to be paid for the time he worked. Defendants

refused to pay him.

                                      56.

      Plaintiff’s counsel made a demand to Defendants, which Ms. Louis

refused without even making a counter-offer.




                                       13
       Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 14 of 15




                                      57.

     Instead, Defendant Alicia Louis stated that she had paid Plaintiff two

cash payments. When she made that statement, she knew it was false.

                                      58.

     Defendants have acted in bad faith, been stubbornly litigious, and

caused Plaintiff unnecessary trouble and expense.

                                      59.

     As a result of Defendants’ acts, Plaintiff is entitled to recover the relief

requested below.



WHEREFORE, Plaintiff prays:

a.   That Summons issue requiring Defendants to answer the

     Complaint within the time provided by law;

b.   That Plaintiff be awarded declaratory judgment that Defendants

     violated the FLSA;

c.   That Plaintiff recover from Defendants his wages and unpaid overtime;

d.   That Plaintiff recover liquidated damages against Defendants;

e.   That Plaintiff recover attorney!s fees and costs of litigation under the

FLSA, other applicable federal law, and O.C.G.A. § 13-6-11;




                                       14
        Case 1:21-cv-03942-AT Document 1 Filed 09/24/21 Page 15 of 15




f.    That the Court award Plaintiff any other or further relief as it deems

necessary and proper, or equitable and just.



PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL COUNTS



     Respectfully submitted this 24th day of September, 2021.


                                    T. Robert Reid, LLC

                                    s/ Tilden Robert Reid, II
                                    T. Robert Reid
                                    Ga. Bar No. 600138

                                    1030 Woodstock Road
                                    Suite 3112
                                    Roswell, Georgia 30075
                                    Telephone (678) 743-1064
                                    Facsimile (404) 549-4136
                                    robreidattorney@gmail.com

                                    Attorney for Plaintiff




                                      15
